
PER CURIAM:
This c laim w as submitted f or de cisión b ased u pon t he a negations in t he Notice of Claim and respondent's Answer.
Claimant seeks $189.00 for providing a Sludge Land Application Fee as required by law for Huttonsville Correctional Center, a facility of respondent in Huttonsville. The documentation for these services was not processed for payment within the appropriate fiscal year; therefore, claimant has not been paid. In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in the appropriate fiscal year from which the invoice could have been paid.
Accordingly, the Court makes an award to claimant in the amount of $189.00.
Award of $189.00.
